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                       UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF NEW JERSEY


     IN RE: PROTON-PUMP INHIBITOR                  MDL No. 2789
     PRODUCTS LIABILITY LITIGATION                 Case No.: 2:17-md-2789 (CCC)(MF)
     (NO. II)

     This Document Relates to:

     LAVON BULLOCK
     Case No.



         FIRST AMENDED SHORT FORM COMPLAINT AND JURY DEMAND

        The Plaintiff(s) n a m e d b e l o w file(s) this Short Form Complaint and Demand for

Jury Trial against Defendants named below by and through their undersigned counsel and as

permitted by Case Management Order No. 7.          Plaintiff(s) incorporate(s) by reference the

allegations contained in Plaintiffs’ Master Long Form Complaint and Jury Demand in In re:

Proton-Pump Inhibitor Products Liability Litigation, MDL 2789, in the United States District

Court for the District of New Jersey pursuant to Case Management Order No. 7.

        In addition to those causes of action contained in Plaintiffs’ Master Long Form

Complaint and Jury Demand, where certain claims require specific pleadings and/or

amendments, Plaintiff(s) shall add and include them herein.

                                 IDENTIFICATION OF PARTIES

Identification of Plaintiff(s)

1.       Name of individual injured/deceased due to the use of PPI Product(s): LAVON

BULLOCK                                                                                .

2.       Consortium Claim(s): The following individual(s) allege damages for loss of

consortium: Not Applicable _______________________________________________.

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3.        Survival and/or Wrongful Death Claims:

           a. Plaintiff,                          , is filing this case in a representative capacity as the

                                                  of the Estate of                 , deceased.

           b. Survival Claim(s): The following individual(s) allege damages for survival claims, as

              permitted under applicable state laws:                      .

4.         As a result of using PPI Products, Plaintiff/Decedent suffered pain and suffering,

emotional distress, mental anguish, and personal and economic injur(ies) that are alleged to have

been caused by the use of the PPI Products identified in Paragraph 10, below, but not limited to

the following:

                    X          injury to himself/herself

                               injury to the person represented

                              wrongful death

                               survivorship action

                    X          economic loss

                    X          loss of services

                               loss of consortium

                               other:


Identification of Defendants

5.         Plaintiff(s)/Decedent is/are suing the following Defendant(s) (please check all that

apply):

            ☒      Abbott Laboratories

            ☒ AstraZeneca Pharmaceuticals LP



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        ☒   AstraZeneca LP

        ☒   GlaxoSmithKline Consumer Healthcare Holdings (US) LLC

        ☒   GlaxoSmithKline Consumer Healthcare LP

        ☒   GlaxoSmithKline Consumer Healthcare Holdings (US) IP LLC

        ☒   Merck & Co. Inc. d/b/a Merck, Sharp & Dohme Corporation

        ☒   Novartis Corporation

        ☒   Novartis Pharmaceutical Corporation

        ☒   Novartis Vaccines and Diagnostics, Inc.

        ☒   Novartis Institutes for Biomedical Research, Inc.

        ☒   Novartis Consumer Health, Inc.

        ☐   Pfizer, Inc.

        ☒   The Procter & Gamble Company

        ☒   Procter & Gamble Manufacturing Company

        ☒   Takeda Pharmaceuticals USA, Inc.

        ☒   Takeda Pharmaceuticals America, Inc.

        ☒   Takeda Pharmaceuticals LLC

        ☒   Takeda Pharmaceuticals International, Inc.

        ☒   Takeda California, Inc.

        ☒   Takeda Development Center Americas, Inc. f/k/a Takeda Global Research
            & Development Center, Inc.

        ☒   Takeda Pharmaceutical Company Limited



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          ☒     TAP Pharmaceutical Products, Inc. f/k/a TAP Holdings Inc.

          ☐     Wyeth Pharmaceuticals, Inc.

          ☐     Wyeth-Ayerst Laboratories

          ☐     Wyeth LLC

          ☐      Other(s) Defendant(s) (please identify):




                             JURISDICTION & VENUE

Jurisdiction:

6.       Jurisdiction in this Short Form Complaint is based on:

          ☒     Diversity of Citizenship

          ☐     Other (The basis of any additional ground for jurisdiction must be pled in

sufficient detail as required by the applicable Federal Rules of Civil Procedure).



Venue:

7.       District Court(s) in which venue was proper where you might have otherwise filed this

Short Form Complaint absent Case Management Order No. 7 entered by this Court and/or to

where remand could be ordered: United States District Court For The Eastern District of Virginia

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                                      CASE SPECIFIC FACTS

8.         Plaintiff(s) currently reside(s) in (City, State): Waverly, Virginia                     .

9.         To the best of Plaintiff’s knowledge, Plaintiff/Decedent used PPI Product(s) during the

following time period: 2008 - 2016                                                              .

10.        Plaintiff/Decedent used the following PPI Products, for which claims are being asserted:

            ☐     Dexilant

            ☐     Nexium

            ☐     Nexium 24HR

            ☒     Prevacid

            ☒     Prevacid 24HR

            ☒     Prilosec

            ☒     Prilosec OTC

            ☐     Protonix

            ☐     Other (List All):

11.        The injuries suffered by Plaintiff/Decedent as a result of the use of PPI Products

include, among others that will be set forth in Plaintiff’s discovery responses and medical

records:

            ☐     Acute Interstitial Nephritis (AIN)

            ☐     Acute Kidney Injury (AKI)

            ☒     Chronic Kidney Disease (CKD)

            ☒     End Stage Renal Disease (ESRD)

            ☐     Dialysis

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           ☐     Death

           ☐     Other(s) (please specify):



12.      At the time of the Plaintiff’s/Decedent’s diagnosis of injury, Plaintiff/Decedent resided

in (City, State): Waverly, Virginia                                               .

                                       CAUSES OF ACTION

13.     Plaintiff(s), again, hereby adopt(s) and incorporate(s) by reference the Master Long

Form Complaint and Jury Demand as if fully set forth herein.

14.      The following claims and allegations asserted in the Master Long Form Complaint

and Jury Demand are herein more specifically adopted and incorporated by reference by

Plaintiff(s) please check all that apply):

           ☒     Count I: Strict Product Liability

           ☒     Count II: Strict Product Liability – Design Defect

           ☒     Count III: Strict Product Liability – Failure to Warn

           ☒     Count IV: Negligence

           ☒     Count V: Negligence Per Se

           ☒     Count VI: Breach of Express Warranty

           ☒     Count VII: Breach of Implied Warranty

           ☒     Count VIII: Negligent Misrepresentation

           ☒     Count IX: Fraud and Fraudulent Misrepresentation

           ☒     Count X: Fraudulent Concealment




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          ☒     Count XI: Violation of State Consumer Protection Laws of the State(s) of:
                Virginia                                                                .

          ☐     Count XII: Loss of Consortium

          ☐     Count XIII: Wrongful Death

          ☐     Count XIV: Survival Action

          ☐     Furthermore, Plaintiff(s) assert(s) the following additional theories and/or Causes

of Action against Defendant(s) identified in Paragraph five (5) above. If Plaintiff(s) includes

additional theories of recovery, to the extent they require specificity in pleadings, the specific

facts and allegations supporting these theories must be pled by Plaintiff(s) in a manner

complying with the requirements of the Federal Rules of Civil Procedure:




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       WHEREFORE, Plaintiff(s) pray(s) for relief and judgment against Defendants of

compensatory damages, punitive damages, interest, costs of suit and such further relief as the

Court deems equitable and just, and as set forth in the Master Long Form Complaint and Jury

Demand, as appropriate.

                                         JURY DEMAND

       Plaintiff(s) hereby demand a trial by jury as to all claims in this action.

Dated: April 11, 2018

                                               Respectfully Submitted,


                                               /s/ Sindhu S. Daniel
                                               Sindhu S. Daniel
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                                               ATTORNEYS FOR PLAINTIFF




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